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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO
                     WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                                            :
              Plaintiff,                              Case No. 3:08-cr-041(2)
                                                      Also Case No. 3:12-cv-397

                                            :         District Judge Thomas M. Rose
       -vs-                                           Magistrate Judge Michael R. Merz

EVERARDO RODRIQUEZ-VILCHIS,
                                            :
              Defendant.



                      REPORT AND RECOMMENDATIONS

       Defendant commenced this action by filing his Motion to Vacate pursuant to 28 U.S.C. §

2255 (Doc. No. 209). The case has been referred to the undersigned Magistrate Judge under the

Dayton General Order on Assignment and Reference and is before the Court for initial review

under Rule 4 of the Rules Governing § 2255 Cases which provides:

              The judge who receives the motion must promptly examine it. If it
              plainly appears from the motion, any attached exhibits, and the
              record of prior proceedings that the moving party is not entitled to
              relief, the judge must dismiss the motion and direct the clerk to
              notify the moving party. If the motion is not dismissed, the judge
              must order the United States to file an answer, motion, or other
              response within a fixed time, or take other action the judge may
              order.


       Defendant was indicted with eight others on March 12, 2008 (Indictment, Doc. No. 11).

He was charged with conspiracy to distribute and to possess with intent to distribute Schedule I

and II controlled substances. Id. Count 1. On September 19, 2008, he entered into a Plea

Agreement with the United States to plead guilty to the one count charged (Plea Agreement,

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Doc. No. 106). In the Plea Agreement, Defendant expressly waived any right to appeal in the

following language:

              9. The defendant, EVERARDO RODRIGUEZ-VILCHIS, is aware
              that Title 18, United States Code, Section 3742 gives the defendant a
              right to appeal the sentence imposed. Acknowledging this, the
              defendant knowingly waives the right to appeal all matters pertaining
              to this case and any sentence imposed by the District Court. The
              defendant does retain the right to appeal a sentence imposed above
              the applicable sentencing Guidelines range as a consequence of an
              upward departure. This limited right to appeal exists only if the Court
              imposes a sentence which is an upward departure from the applicable
              Sentencing Guideline range.

       On August 4, 2009, Judge Rose sentenced Defendant to 144 months imprisonment, the

term he is now serving and from which he seeks relief (Judgment, Doc. No. 177). He pleads the

following Grounds for Relief:

              Ground One: Petitioner is entitled to equitable tolling time of
              filing his 2255 for grounds 2 through 4 below: see memorandum
              of points and authorities in support.

              Supporting Facts: The petitioner’s argument in his memorandum
              of law raises due process, equal protection rights and ineffective
              assistance of counsel claims under the Fifth, Sixth and Fourteenth
              Amendment [sic] of the U.S. Constitution, therefore, he should be
              etitled [sic] to eqitable [sic] tolling time.

              Ground Two: Defense counsel was ineffective in failing to object
              to, mitigate and raise on direct appeal the enhancement for
              leadership.

              Supporting Facts: see memorandum of law.

              Ground Three: Defense counsel was ineffective for failure to
              object to, mitigate and raise on direct appeal the credibility
              determination drug amount attributed upon the defendant. See
              memorandum of law in support.

              Ground Four: Defense counsel was ineffective when he did not
              file a requested direct appeal. See memorandum of law in support.




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                  Ground Five: Defense counsel was ineffective to negoatiate [sic]
                  original plea offered in light of Missouri v. Frye, a retroactively
                  applicable case to petitioner. See memorandum of law in support.


(Motion, Doc. No. 209, PageID 684-686.)

         No notice of appeal was ever filed in this case and the time to do so expired fourteen days

after judgment or on August 18, 2009. Defendant signed the § 2255 Motion on November 15,

2012, and it is deemed filed as of that date. 28 U.S.C. § 2255(f) provides a one-year statute of

limitations for § 2255 motions from the date on which the judgment became final, in this case

August 18, 2009. The statute of limitations expired August 19, 2010, and THE § 2255 Motion

was therefore filed more than two years late.1 A district court may dismiss a habeas petition sua

sponte on limitations grounds when conducting an initial review under Rule 4 of the Rules

Governing § 2254 Cases. Day v. McDonough, 547 U.S. 198 (2006)(upholding sua sponte raising

of defense even after answer which did not raise it); Scott v. Collins, 286 F.3d 923 (6th Cir.

2002). The same logic applies to consideration of limitations issues in § 2255 cases.

         Defendant claims in Ground One that he is entitled to equitable tolling of the time for

Grounds 2, 3, and 4 because he “does not speak, write or understand the English language, nor

the process and functions of the American legal system” and therefore trusted his attorney to file

an appeal (Motion, Doc. No. 209, PageID 691). After unsuccessfully attempting numerous times

to reach his attorney, he eventually spoke to a bilingual law clerk at his place of incarceration

and learned no appeal had been filed. He then began to prepare his § 2255 Motion. Id.

         The one-year statute of limitations in 28 U.S.C. § 2244 is subject to equitable tolling.

Holland v. Florida, 560 U.S. ___, 130 S. Ct. 2549, 177 L. Ed. 2d 130 (2010). The one-year

statute of limitations in 28 U.S.C. § 2255(f) is subject to equitable on the same basis, since it is in

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 Defendant argues that his time to file expired October 16, 2010, but does not explain how he calculated that date.
(Motion, Doc. No. 209, PageID 691.)

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pari materia with § 2244. A petitioner is “‘entitled to equitable tolling’ only if he shows ‘(1) that

he has been pursuing his rights diligently and (2) that some extraordinary circumstance stood in

his way’ and prevented timely filing.” Ata v. Scutt, 662 F.3d 736 (6th Cir. 2011), quoting

Holland, 130 S. Ct. at 2562, quoting Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005). “Equitable

tolling allows courts to review time-barred habeas petitions ‘provided that a litigant’s failure to

meet a legally-mandated deadline unavoidably arose from circumstances beyond that litigant’s

control.’” Keeling v. Warden, 2012 U.S. App. LEXIS 3065 (6th Cir. 2012), quoting Robinson v.

Easterling, 424 F. App'x 439, 442 & n.1 (6TH Cir. 2011). Keeling cites several prior cases where

equitable tolling was refused even though a petitioner’s attorney failed to keep him apprised of

the status of pending matters. A petitioner’s pro se status and lack of knowledge of the law do

not constitute an extraordinary circumstance to excuse late filing. Keeling, supra. A defendant’s

lack of knowledge of English also does not excuse a delay in filing. Bonilla v. Hurley, 370 F.3d

494, 498 (6th Cir. 2004).

       The burden is on the petitioner to demonstrate that he is entitled to equitable tolling.

Keenan v. Bagley, 400 F.3d 417, 420-22 (6th Cir. 2005); Allen v. Yukins, 366 F.3d 396 (6th Cir.

2004); McClendon v. Sherman, 329 F.3d 490, 494 (6th Cir. 2003); Griffin v. Rogers, 308 F.3d

647, 653 (6th Cir. 2002). Typically, equitable tolling applies only when a litigant’s failure to

meet a legally-mandated deadline unavoidably arose from circumstances beyond that litigant’s

control. Jurado v. Burt, 337 F.3d 638 (6th Cir. 2003), citing Graham Humphreys v. Memphis

Brooks Museum of Art, Inc., 209 F.3d 552, 561 (6th Cir.2000). “Absent compelling equitable

considerations, a court should not extend limitations by even a single day.” Id. at 561. Equitable

tolling should be granted sparingly. Solomon v. United States, 467 F.3d 928, 933 (6th Cir. 2006).




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       Defendant has failed to establish a sufficient case for equitable tolling. He claims he

asked his attorney to appeal, but he does not say when he did so or give any corroborating facts

(Was it in person or by telephone or letter? Was anyone else present? Did it happen before or

after the time to appeal expired?) Nor does he give any detail about what he did to pursue the

case after being sentenced. Did he call or write his attorney? When did he contact the bilingual

law clerk? He says nothing about the fact that he waived his right to appeal in the Plea

Agreement (except for circumstances not relevant to the claims he makes). What discussion did

he and his attorney have about that fact as it relates to his desire to appeal?

       Because Defendant has not established his entitlement to equitable tolling on Grounds

Two, Three, and Four, they should be dismissed with prejudice as barred by the one-year statute

of limitations. Ground One, of course, is not a separate ground for relief, but Defendant’s

attempt to show equitable tolling.

       In Ground Five, Defendant asserts he received ineffective assistance of trial counsel in

plea negotiations. The full claim is as follows:

               The petitioner was offered a 29 BOL [base offense level] with no
               criminal history points attached, which would had placed him with
               a sentencing range of 87 to 108. Prosecutor was willing to make
               that offer under the safety valve. However, petitioner not willing to
               give the prosecutor information under the safety valve condition,
               was willing to accept his own responsibilities and plea guilty to his
               offense committed. Counsel failure to pursue (explore) and
               communicate that offer of plea without the safety valve condition
               was deficient performance. see U.S. v. Booth, 432 F.3d 542, 549-
               50 (3d Cir. 2005).

               The circumstances existing here, sub judice, is that the 29 BOL
               was offered by the government which the records support that plea
               negotiation, and the Sixth Amendment right to counsel attaches,
               therefore, a Strictland's [sic]framework for ineffective assistance
               claim. Missouri v. Frye, 566 ___, 2012 U.S. Lexis 2321 (3/21/12).
               In order to provide constitutionally adequate representation in the
               context of plea negotiation, a lawyer must generally advise the


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               client of any offer that the government extends. Frye, 2012 U.S.
               Lexis 2321 at *8.

               Further, counsel must outline the strength and weakness of the case
               against him; and provide an estimate of the defendant's sentencing
               exposure at trial. Id. A defendant seeking to vacate his conviction
               on the ground that his lawyer failed to comply with pursuing with
               and negotiating the 29 BOL recommended by the government in
               light of U.S. v. Booth, 432 F.3d 542, at 549-50, clearly
               demonstrates that but for the ineffective advice of counsel there is
               reasonability that he would had accepted the plea and the
               prosecutor would not have withdrawn it in light of intervening
               circumstances. See Lafler v. Cooper, 566 U.S. , 2012 U.S. Lexis
               2322 at *5.

               The Courts have found ineffective assistance of counsel in cases
               where the attorney's failure concerned the process of plea
               bargaining and reaching an agreement. U.S. v. Blaylock, 20 F.3d
               1458, at 1465-66 (9th Cir. 1994). Missouri v. Frye, 2012 U.S.
               Lexis 2321 (3/21/12) and Lafler v. Cooper, 2012 U.S. Lexis 2322
               has been made applicable retroactive to cases like this one at bar,
               and the petitioner has filed this claim within the one year rule in
               light of Dodds v. U.S., 545 U.S. 353, 162 L. Ed. 2d 343, 125 S. Ct.
               2478 (2005).


(Motion, Doc. No. 209, PageID 695-697.)

       Defendant asserts his Fifth Ground for Relief is timely filed because Missouri v. Frye,

566 U.S. ___, 132 S. Ct. 1399, 182 L. Ed. 2d 379 (2012); and Lafler v. Cooper, 566 U.S. ___,

132 S. Ct. 1376, 182 L. Ed. 2d 398 (2012), were decided in March, 2012, and he filed his § 2255

Motion within one year of those decisions. It is correct that 28 U.S.C. § 2255(f) provides as a

later starting date for calculating the statute of limitations, “the date on which the right asserted

was initially recognized by the Supreme Court, if that right has been newly recognized by the

Supreme Court and made retroactively applicable to cases on collateral review.”

       First of all, assuming these cases recognize a new constitutional right, nothing in the text

expressly makes them retroactively applicable to cases on collateral review. The Eleventh



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Circuit has expressly held that Frye and Lafler do not announce new rules and are therefore not

retroactive. In re: Michael Perez, 682 F.3d 930 (11th Cir. 2012). Judges Graham and Abel of

this Court have reached the same conclusion. Crockett v. United States, 2012 U.S. Dist. LEXIS

160384 (S.D. Ohio Nov. 8, 2012), citing Buenostro v. United States, 697 F.3d 1137 (9th Cir.

2012), and Hare v. United States, 688 F.3d 878, 879 (7th Cir. 2012).

       But secondly and more importantly, the right recognized in these cases is far different

from the right claimed by Defendant. In both of those cases, the prosecutor had made a plea

offer. In Missouri v. Frye the defendant’s lawyer never communicated that offer to his client and

the client ended up convicted of a felony and sentenced to three years imprisonment when he

could have pled to a misdemeanor. In Lafler, the prosecutor made an offer and defense counsel

recommended to his client, upon a serious misunderstanding of the law, that the offer be

rejected; after trial defendant was sentenced to 185 to 360 months when he could have received a

51-85 month sentence under the offer. The holding in Frye is as follows:

               This Court now holds that, as a general rule, defense counsel has
               the duty to communicate formal offers from the prosecution to
               accept a plea on terms and conditions that may be favorable to the
               accused.


132 S. Ct. at 1408. The Supreme Court made it clear it was only deciding about ineffective

assistance of trial counsel claims where the prosecutor makes an offer which is rejected.

               The prosecution and the trial courts may adopt some measures to
               help ensure against late, frivolous, or fabricated claims after a later,
               less advantageous plea offer has been accepted or after a trial
               leading to conviction with resulting harsh consequences. First, the
               fact of a formal offer means that its terms and its processing can be
               documented so that what took place in the negotiation process
               becomes more clear if some later inquiry turns on the conduct of
               earlier pretrial negotiations. Second, States may elect to follow
               rules that all offers must be in writing, again to ensure against later
               misunderstandings or fabricated charges. See N. J. Ct. Rule 3:9-


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                    1(b) (2012) ("Any plea offer to be made by the prosecutor shall be
                    in writing and forwarded to the defendant's attorney"). Third,
                    formal offers can be made part of the record at any subsequent plea
                    proceeding or before a trial on the merits, all to ensure that a
                    defendant has been fully advised before those further proceedings
                    commence. At least one State often follows a similar procedure
                    before trial.


Frye, 132 S. Ct. at 1408-1409.

           Defendant’s § 2255 Motion here does not state a claim under Frye. As Defendant pleads

the claim, the Government made an offer, the offer was communicated to Defendant by his

attorney, but Defendant was unwilling to accept the offer as it was made because he was “not

willing to give the prosecutor information under the safety valve [statute].” Defendant does not

assert he rejected the Government’s offer on the basis of any bad legal advice by his attorney, as

was the case in Lafler. Rather, the Defendant himself refused the offer because he would not

comply with the provision of 18 U.S.C. § 3553(f)(5) requiring him to provide the Government

with all information and evidence about his offense.2

           Defendant’s claim of ineffective assistance of trial counsel is that his attorney did not

attempt to get him a deal for 87-108 months without the safety valve conditions. But he does not

suggest any way in which that would have been legally possible. The statutory minimum penalty

for the offense to which he pled guilty was ten years (120 months) imprisonment with five

kilograms of powder cocaine. The amount of cocaine to which Defendant admitted was more

than 150 kilograms (as well as ten kilograms of heroin), more than thirty times the amount of

cocaine needed to trigger the ten-year mandatory minimum. Defendant offers no proof the

Government would have been willing or even able to accept his counter offer.




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    The Plea Agreement says that the Safety Valve statute and sentencing guideline are applicable to this case.

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       Therefore it is respectfully recommended that Defendant’s § 2255 Motion to Vacate be

dismissed with prejudice. Because reasonable jurists would not disagree with this conclusion,

Defendant should be denied a certificate of appealability and this Court should certify to the

Sixth Circuit that any appeal would be objectively frivolous and should not be permitted to

proceed in forma pauperis.

December 3, 2012.

                                                               s/ Michael R. Merz
                                                              United States Magistrate Judge




                             NOTICE REGARDING OBJECTIONS

Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
proposed findings and recommendations within fourteen days after being served with this Report
and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen
days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
to and shall be accompanied by a memorandum of law in support of the objections. If the Report
and Recommendations are based in whole or in part upon matters occurring of record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party=s objections
within fourteen days after being served with a copy thereof. Failure to make objections in
accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).




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